Case 5:05-cr-04106-DEO-LTS   Document 111   Filed 11/22/06   Page 1 of 6
Case 5:05-cr-04106-DEO-LTS   Document 111   Filed 11/22/06   Page 2 of 6
Case 5:05-cr-04106-DEO-LTS   Document 111   Filed 11/22/06   Page 3 of 6
Case 5:05-cr-04106-DEO-LTS   Document 111   Filed 11/22/06   Page 4 of 6
Case 5:05-cr-04106-DEO-LTS   Document 111   Filed 11/22/06   Page 5 of 6
Case 5:05-cr-04106-DEO-LTS   Document 111   Filed 11/22/06   Page 6 of 6
